                              IN THE UNITED STATES DISTRICT multi.'
                             FOR THE FASTERN DISTRICT OF . FENNESSEE
                                         AT KNOXVILLE

ARCIIIE COOK, JR., individually and On
Behalf of the Wrongful Death
Beneficiaries of SHIRLEY I. COOK,

                            Plaintiff,

v   .                                                     Case No:
                                                          JURY DEM:ANDED

SUN IIEALTIICARE CROUP, INC.,
SUNBRIDGE IIKALTII CARE, LLC,
SUNBRIDGE OF HARRIMAN, LLC,
d/b/a RENAISSANCE TERR:10E CARE
AND REHABILITATION CENTER

                            Defendants.




               NOT CE OF REMOVAL TO UN ITED STATES DISTRICT COURT


          COME now Defendants, by and through their undersigned counsel, and pursuant to 28

U.S.C. § 1441, et seq., and respectfully removes this civil action to the United States District

Court and would further show as follows:

          1.       This c vil action was commenced by the Plaintiffs tiling a complaint on or about

November 8, 2012 in the Circuit Court for Roane County, Tennessee bearing Docket No. 12-cv-

203. Defendant Sunbridge of Harriman, LLC, d/b/a Renaissance Terrace Care and

Rehabilitation Center was served with process on November 15, 2012, less than thirty (30) days

prior to filing this Notice; Defendants Sunbridge Healthcare, LLC and Sun Heatlhcare Group,

Inc. were served with process on November 16, 2012, less than thirty days prior to filing this




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Ninticc.        c py        the ( 'omplaint, Summons and Service of Process t   i Ins :Is   were received by

Defendant arc attached to Ihis Nonce i collective exhibit A.

           2.      The Ci implaint ,;eeks etnnpensatory daimuNs in ihe amount of Two Million

(S2,000,0i)0.00) Dollars, and bases the demand on allegations of neg igent conduct all of wh ich

al egedly caused personal injury and consortium damages to the Plaintiff.

           3,      Based on the Information provided in the ('omplaint, Plaintiff is a resident citizen

of Roane County. Tennessee. Defendant Sun Ilealtheare Group, lnc. is a Delaware corporation

Nvith i ts   principal place of business at 101 Sun Avenue, Albuquerque, New Mexico. Defendant

Sunbridge Healthcare. LLC is a New Mexico limited liability company, the sole member of

which is Sun Ilcaltheare Group, Inc. Sunbridge of Harriman, LLC is a Tennessee limited

liability company, t ie sole member of which is Sunbridge Retirement Care Associates, LLC.

Sunbridge Retirement Care Associates, LLC is a Colorado limited liability company, the sole

member of which is Defendant Sunbridge Healthcare, LLC. Thus, there is complete diversity of

citizenship of the parties herein.       Delphi Automotive Systems, LLC v. United Plastics, Inc.,       418

Fed. Appx. 374, 378-79 (6th Cir. 2011) (" 1 [A]ll unincorporated entities -- of which a limited

liability is one -- have the citizenship of each partner or member.') (quoting Delay v. Rosenthal

Collins Group, LLC, 585 F.3d 1003 (6th Cir. 2009)).

           4.      As a result of the complete diversity of citizenship of the parties and the fact that

Plaintiff seeks damages in this civil action for some exclusive of interest and costs exceeding

$75,000, Defendants respectfully assert that they are entitled to have this civil action removed to

the this Honorable Court.

           5.      A complete copy of this filing and Notice of this removal is being filed

simultaneously with the Clerk of the Circuit Court for Morgan County, Tennessee.


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          WI !FRI FORE, Delendants hereby remo% e this el      actwn Ironi the Ccuit Court for

1<oane County, Tennessee to the I tided States District (owl Tor the Eastern District of'

Tennessee at 1:110x

          RespeettUlly submitted this 12th day H )ecember, 2012.


                                                     !si Summer I I McMillan
                                                     Christy 'lush Crider (13PR it ()18932)
                                                     Sununer I. McMillan (13PR /A)20296)
                                                     BAKER, DONELSON, [WARMAN',
                                                     CALDWELL & BERKOWITZ
                                                     Baker Donelson Center, Suite 800
                                                     2 11 Commerce Street
                                                     Nashville, TN 37201
                                                     (615) 726-5600

                                                     .1ttorners jar Defendants



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and exact copy of the foregoing has been
served upon the following counsel tbr parties in interest herein by delivering same to the offices
of said counsel, or by mailing same to the offices of said counsel by United States Mail with
sufficient postage thereon to carry the same to its destination.

         Jacob C. Parker, Esq.
         Parker Law Firm
         P. O. Box 21941
         Chattanooga, TN 37424-0941

         Mark N. Geller, Esq.
         Nahon, Saharovich and Trotz, PLC
         488 S. Mendenhall
         Memphis, Tennessee 38117

         This the 12th day of December, 2012.



                                                    /s/ Summer H. McMillan
                                                    Summer H. McMillan



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